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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                          )
                                                   )     Case No. 4:99CR3043-2
                              Plaintiff,           )
                                                   )
v.                                                 )
                                                   )            ORDER
LOUIS ELMORE MCALISTER,                            )
                                                   )
                              Defendant.           )

        THIS MATTER comes before the Court on Defendant's Motion to Withdraw, filing

631.

        IT IS THEREFORE ORDERED that Assistant Federal Public Defender Michael J.

Hansen and the Federal Public Defender’s office shall be permitted to withdraw as counsel

of record for Mr. McAlister. On April 10, 2008, Joseph S. Risko entered his appearance

in filing 630.   The Clerk is directed to remove Mr. Hansen from all future ECF

notifications in this case.

        Dated April 18, 2008.

                                                   BY THE COURT:

                                                   s/ Warren K. Urbom
                                                   United States Senior District Judge
